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5

6
                         IN THE UNITED STATES DISTICT COURT FOR
7                         THE WESTERN DISTRICT OF WASHINGTON
8
     PATRICK VAN HORN,                                 No. 2:18-cv-1469
9
                                   Plaintiff,
10
                                                       COMPLAINT
            v.
11
                                                      With Jury Demand
12   DETECTIVE ERIC MOORE, a City of Kent
     police officer, in his individual and official
13   capacity and JANE DOE MOORE and the
     marital community comprised thereof; TY
14   HONDA, a City of Kent police officer, in
     her individual and official capacity and
15
     JOHN DOE HONDA and the marital
16   community comprised thereof;
     COMMANDER ROB SCHOLL, a City of
17   Kent police officer, in his individual and
     official capacity and JANE DOE SCHOLL
18   and the marital community comprised
     thereof; SERGEANT J. THOMPSON, a City
19
     of Kent police officer, in his individual and
20   official capacity and JANE DOE
     THOMPSON and the marital community
21   comprised thereof; CHIEF OF POLICE
     KEN THOMAS, in his individual and
22   official capacity and JANE DOE THOMAS
     and the marital community comprised
23
     thereof; and the CITY of KENT, a municipal
24   corporation,

25                         Defendants.
        COMP LAI NT - Page 1
26                                                                            KANNIN LAW FIRM P.S.
                                                                                119 SW 152nd Street
                                                                              Burien, Washington 98166
                                                                         Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                    scott@kanninlaw.com
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1
2           COMES NOW the plaintiff, Patrick Van Horn, through his attorneys of record, Kannin

3    Law Firm P.S., and hereby presents the following claims:

4                                             JURISDICTION

5                                                     1.

6           Jurisdiction is founded upon the existence of a federal question.

7                                                     2.

8           This is an action to redress the deprivation under color of statute, ordinance, regulation,

9    custom or usage of rights, privileges, and immunities secured to the plaintiff by the First, Fourth,

10   and Fourteenth Amendments to the Constitution of the United States (42 U.S.C. § 1983).

11                                                    3.

12          Jurisdiction is founded upon 28 U.S.C. § 1331 and § 1343(3) and (4).

13
                                                      4.
14

15          Venue is proper in the United States District Court of the Western District of Washington

16   because the acts or omissions which form the basis of the Plaintiff’s claims occurred in the City of

17   Kent, Washington and the defendants reside in Washington State

18
                                                      5.
19
            At all times relevant to this complaint, Plaintiff was an individual residing in the City of
20
     Kent, Washington.
21
                                                      6.
22
            At all times referred to herein, Defendant KEN THOMAS, City of Kent Chief of Police
23
     was employed by Defendant City of Kent and its Police Department as the Chief of Police of the
24
     City of Kent and is believed to have been the supervising and commanding officer of Defendant
25
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26                                                                              KANNIN LAW FIRM P.S.
                                                                                  119 SW 152nd Street
                                                                                Burien, Washington 98166
                                                                           Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                      scott@kanninlaw.com
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1    COMMANDER ROB SCHOLL, City of Kent Police Officer, Defendant EDWARD MOORE,

2    City of Kent police detective; Defendant TY HONDA, City of Kent police officer, and J.

3    THOMPSON, City of Kent police officer supervising Sergeant.

4                                                      7.

5            At all times referred to herein, Defendant police officer ROB SCHOLL, was employed

6    by City of Kent and its Police Department as a police commander and is believed to have been

7    one of the supervising and commanding officers of Defendant MOORE, City of Kent police

8    detective off duty working at the Scorpions Concert and Defendant TY HONDA, City of Kent

9    police officer off duty working at the Scorpions Concert, and Sergeant J. THOMPSON, City of

10   Kent police officer who further approved of the off-duty Kent police officers’ use of force at the

11   Scorpions concert.

12                                                     8.

13           At all times referred to herein, Defendants EDWARD MOORE, TY HONDA, and

14   SERGEANT J. THOMPSON were employed by the City of Kent and its Police Department as

15   police officers.

16                                                     9.

17           Plaintiff sues all individual defendant officers in their individual capacities and sues the

18   supervisory/municipal defendants KEN THOMAS, ROB SCHOLL and J. THOMPSON in their

19   individual and official capacities. At all times relevant to this complaint the defendants were

20   acting within the scope of their employment for defendant City of Kent and along with defendant

21   municipal corporation City of Kent were acting under color of law.

22
23                                                  FACTS

24                                                    10.

25           On October 9, 2015, during the early evening, Plaintiff Patrick Van Horn was at the City
         COMP LAI NT - Page 3
26                                                                               KANNIN LAW FIRM P.S.
                                                                                   119 SW 152nd Street
                                                                                 Burien, Washington 98166
                                                                            Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                       scott@kanninlaw.com
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1    of Kent’s ShoWare Center arena watching a rock and roll music concert.

2                                                   11.

3           During the concert as the band was playing on the stage, Defendant City of Kent

4    employees, it’s police officers, Defendants Moore and Honda, came into the arena and entered

5    the row where Plaintiff Van Horn, his friends, and others were watching the Scorpions in concert

6    playing music at the defendant City of Kent’s ShowWare arena.

7                                                   12.

8           Defendants Moore and Honda used force to remove Plaintiff Van Horn from his seat in

9    section 102 at the concert hall without warning Plaintiff Van Horn they were about to use

10   physical force against him. The Defendants further failed to and did not tell plaintiff Van Horn

11   why they were removing him from his seat at the Scorpions concert. Defendant Moore came up

12   plaintiff Van Horn, grabbed plaintiff Van Horn’s arm and spun Van Horn around and pulled Van

13   Horn’s arm behind his back. Defendant Moore did not tell plaintiff Van Horn why he grabbed

14   the plaintiff. Defendant Moore pulled Van Horn causing Plaintiff Van Horn to fall into/onto

15   defendant Moore.

16                                                  13.

17          Without warning defendant Honda aimed her Taser weapon at Plaintiff Van Horn and

18   shot Plaintiff Van Horn with her Taser weapon. A barbed dart from defendant Honda’s Taser

19   weapon hit plaintiff Van Horn and embedded itself into plaintiff Van Horn’s stomach. Another

20   barbed dart from defendant Honda’s Taser weapon missed plaintiff Van Horn and sailed off into

21   the crowd at the ShowWare arena. When defendant Honda shot Van Horn with her Taser

22   weapon Van Horn was next to his seat near defendant Moore, inside the Kent defendant’s

23   concert hall, and the band was playing onstage. At some point during this interaction defendant

24   Moore further used what he described as a knee strike to cause plaintiff Van Horn to fall down.

25   Plaintiff Van Horn fell onto the seats in front of him. The physical force Defendant Moore used
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26                                                                           KANNIN LAW FIRM P.S.
                                                                               119 SW 152nd Street
                                                                             Burien, Washington 98166
                                                                        Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                   scott@kanninlaw.com
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1    against Plaintiff Van Horn to accomplish his removal action was excessive and unnecessary.

2

3                                                     14.

4            The physical force Defendants Moore and Honda used against Plaintiff Van Horn to

5    accomplish their removal action from the concert was excessive and unnecessary. Plaintiff Van

6    Horn describes feeling intense pain in his right shoulder when defendant Moore first used force

7    to pull Plaintiff Van Horn away from his seat and further pulled Van Horn’s arms behind his

8    back.

9                                                     15.

10           The defendants forced Van Horn’s arms behind his back and handcuffed him as he was

11   on the floor of concert hall in the row just in front of his seat. Plaintiff Van Horn describes

12   feeling intense pain in his right shoulder when defendant Moore and Honda used force to pull

13   Plaintiff Van’s arms behind his back.

14                                                    16.

15           Van Horn told the defendants Moore and Honda that he was injured. The defendants

16   Moore and Honda disregarded what Van Horn told them. After handcuffing Van Horn, the

17   defendants lifted/held Plaintiff Van Horn up by his arms and removed him from the row where

18   he had been watching the concert with his friends. Van Horn’s friends saw him taken into police

19   custody in handcuffs. Plaintiff Van Horn reported being in extreme pain.

20

21                                                    17.

22           The defendants Moore and Honda took Van Horn outside of the concert arena in

23   handcuffs. Next the defendants Moore and Honda caused plaintiff Van Horn to be handcuffed

24   and leg cuffed, his legs and wrists restrained. One of the ShoWare arena’s security staff reported

25   that he saw Van Horn was hog tied, outside of the ShoWare arena on the sidewalk. After the
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26                                                                              KANNIN LAW FIRM P.S.
                                                                                  119 SW 152nd Street
                                                                                Burien, Washington 98166
                                                                           Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                      scott@kanninlaw.com
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1    defendants hogtied Van Horn as described by the ShoWare security staff the defendants left Van

2    Horn in front of the ShoWare Center concert arena. Plaintiff Van Horn was in extreme pain

3    outside restrained in four-point restraints, wrist and ankle cuffs, what the ShoWare

4    agent/contractor who witnessed described as hog tied. Plaintiff Van Horn struggled to move/roll

5    himself so to relieve pressure on his injured right shoulder. People leaving the concert arena

6    through the doors to the parking lot are believed to have seen Plaintiff Van Horn restrained in

7    this four-point hogtied fashion in front of the ShoWare Center.

8                                                    18.

9           Next the Kent defendants caused the injured Plaintiff Van Horn to be loaded into a City

10   of Kent vehicle, took him to jail and caused Plaintiff Van Horn to be booked into the City of

11   Kent jail. Plaintiff reports being in extreme pain. Plaintiff had not committed a crime.

12                                                   19.

13          Plaintiff Van Horn paid bail money to get out of jail that night. Upon getting out of jail

14   Plaintiff Van Horn went to an emergency medical care clinic. Doctors and staff at the emergency

15   medical clinic examined Van Horn’s injured shoulder and had to surgically remove Defendant

16   Honda’s taser dart from plaintiff Van Horn’s stomach.

17                                                   20.

18          Based on defendant Moore’s and Honda’s reports, and the defendant supervising officers’

19   review and approval of defendants’ Moore’s and Honda’s reports, the City of Kent charged

20   plaintiff Van Horn with crimes that he did not commit.

21                                                   21.

22          The defendants filed police reports that caused the defendant City of Kent to charge

23   plaintiff Van Horn with the gross misdemeanor crimes of assault in the fourth degree and

24   obstructing a police officer. Plaintiff Van Horn engaged legal counsel to defend against the

25   City’s false criminal charges. Plaintiff Van Horn incurred attorneys’ fees and costs in his defense
        COMP LAI NT - Page 6
26                                                                             KANNIN LAW FIRM P.S.
                                                                                 119 SW 152nd Street
                                                                               Burien, Washington 98166
                                                                          Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                     scott@kanninlaw.com
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1    to the City’s false criminal charges. After a year and four months of having the City’s criminal

2    case of assault by spilling or pouring 200 milliliters of beer, pending against him, on February

3    15th, 2017 a jury found plaintiff Van Horn not guilty and acquitted him.

4                                                      22.

5           The Defendant city of Kent’s employees caused plaintiff Van Horn to suffer a severe and

6    disabling injury to his right shoulder. As a direct and proximate result of the defendants’ acts

7    and failures to act Plaintiff Van Horn underwent medical treatment that required the expenditure

8    of money and he incurred significant medical bills. The Defendants’ re-injured Van Horn’s right

9    shoulder to such an extent that he had to undergo a surgery to replace it and repair it. After the

10   January 2016 surgical operation plaintiff endured a painful period of recovery and physical

11   therapy. After the January 2016 surgery Plaintiff’s right shoulder is not what it was before the

12   October 9, 2015 police assault. Plaintiff Van Horn has lost a significant range of motion, lost

13   strength and lost stability in his right shoulder joint as a direct result of the Defendant City of

14   Kent’s employees, the defendants’ acts and failures to act. The physical losses and impairments

15   are permanent. Plaintiff Van Horn expects to incur future medical expenses that would not have

16   been necessary but for the Kent defendants’ acts and failures to act.

17                                                     23.

18          As a direct and proximate result of the defendants’ acts and failures to act Plaintiff Van

19   Horn could not work and lost wages.

20                                                     24.

21          As a direct and proximate result of the defendants’ acts and failures to act. Plaintiff Van

22   Horn was publicly embarrassed and humiliated in front of his friends. He experienced pain when

23   the City of Kent defendants caused him to suffer serious bodily injuries. He further experienced

24   pain and suffering when he underwent medical treatment for the disabling and disfiguring

25   injuries that have left him permanently, partially disabled all caused by the defendants’ acts and
        COMP LAI NT - Page 7
26                                                                                KANNIN LAW FIRM P.S.
                                                                                    119 SW 152nd Street
                                                                                  Burien, Washington 98166
                                                                             Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                        scott@kanninlaw.com
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1    failures to act. Plaintiff Van Horn also suffered a loss of enjoyment of his own life.

2                                                    25.

3           Plaintiff Van Horn also had to pay attorney’s fees and costs to defend against the City of

4    Kent’s criminal charges that he would not have had to pay but for the defendant City of Kent’s

5    employees acts and failures to act.

6

7                                                    26.

8           On October 9, 2015, and days subsequent defendant Thomas was the chief of police at

9    the Kent Police Department and as the chief officer was the City of Kent supervising employee

10   of defendants Honda, Moore, Thompson and Scholl. Defendant Commander Scholl and

11   defendant Sergeant Thompson were also Defendant City of Kent supervising employee of

12   defendants Honda and Moore. Defendant Thomas the Chief of police was the City of Kent

13   employee responsible for training and supervising defendants Honda and Moore, Thompson and

14   Scholl. Defendant Thomas was the City of Kent employee responsible for ensuring defendants

15   Honda, Moore, Thompson and Scholl were adequately and lawfully trained and supervised when

16   carrying out their duties on behalf of the defendant City of Kent.

17

18                                                   27.

19          The City of Kent defendants Moore and Honda caused plaintiff Van Horn to suffer

20   injuries to his body that required the expenditure of money for medical care and treatment of his

21   injuries. The defendants’ Moore and Honda excessive use of force caused plaintiff Van Horn to

22   suffer serious permanent disabling injuries to his person. plaintiff Van Horn underwent medical

23   treatment for his injuries. This included two surgeries, first to remove the defendants’ Taser dart

24   from his stomach second to repair his injured right shoulder. Plaintiff Van Horn continues to

25   suffer from his injuries caused by the defendants. Plaintiff Van Horn anticipates additional
        COMP LAI NT - Page 8
26                                                                              KANNIN LAW FIRM P.S.
                                                                                  119 SW 152nd Street
                                                                                Burien, Washington 98166
                                                                           Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                      scott@kanninlaw.com
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1    medical treatment to be necessary in the future. Plaintiff Van Horn’s injuries were and are

2    painful, permanent, disabling, and disfiguring.

3
                                                       28.
4
5           Defendant Chief Thomas is believed to be defendant municipal corporation City of

6    Kent’s chief policy maker regarding implementing the City of Kent Police Department’s use of

7    force policies, practices and customs and the police Department’s management, control and

8    oversight policies. Defendant Chief Thomas is further believed to be defendant City of Kent’s
9    representative who ultimately approved, and/or ratified the other defendants’ use of force in this
10
     case and who further approved, and/or ratified the other defendants Thompson and Schols’s
11
     approvals of the defendants Moore and Honda’s use of force. Defendant Chief Thomas is further
12
     believed to be defendant municipal corporation City of Kent’s chief policy maker regarding
13
     implementing the City of Kent Police Department’s policies, practices and customs for
14
     discipling City of Kent employees for failing to act and follow the City of Kent Police
15

16   Department’s policies and procedures. In determining and implementing the City of Kent Police

17   Department’s policies and procedures, Defendant Chief Thomas is believed to rely upon the

18   assistance of, and policy making, development and implementation of other defendants one of
19   whom is City of Kent supervisory employees defendant Rob Scholl and another is defendant
20
     Sergeant Thompson. Defendant Rob Scholl and defendant Sergeant Thompson further ratified
21
     defendants’ Moore and Honda’s use of force against plaintiff Van Horn.
22
                                                       29.
23
            The defendant City of Kent’s policies for use of force, using less lethal weapons, the
24
     reporting the use of force, discipling officers for use of force, mission implementation, restraints
25
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26                                                                              KANNIN LAW FIRM P.S.
                                                                                  119 SW 152nd Street
                                                                                Burien, Washington 98166
                                                                           Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                      scott@kanninlaw.com
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     policy, discipling officers, and other policies that are purportedly in place to manage and
1
     control the City’s police employees, are/were implemented such that the acts and failures to act
2

3    of the individuals defendant City of Kent’s employees carrying out the City’s policies are

4    not/were not reviewed, and/or policy violations do not result in discipline and or effective

5    review.

6                                                       30.
7
               As a direct and proximate result of the said acts of the City of Kent defendants the
8
     plaintiff Patrick Van Horn suffered the following injuries and damages:
9
               a. Violation of his constitutional rights under the First, Fourth, Sixth, Eighth, and
10
     Fourteenth Amendments to the United States Constitution;
11
               b. Physical pain and suffering requiring the expenditure of money for treatment;
12
               c. Lost wages and income.
13
               c. Economic and non-economic damages incurred and expected to be incurred, in an
14
     amount to be established at trial.
15
                                                        31.
16
               The actions of the defendants further violated the following clearly established and well-
17
     settled federal constitutional rights of Patrick Van Horn:
18
               a.        Freedom from the use of excessive and unreasonable force
19
                         against his person that caused plaintiff’s bodily injuries.
20
               b.        Freedom from the use of excessive, unreasonable and/or unjustified force
21
                         against his person after he was arrested and became a prisoner in the custody of
22
                         the defendants.
23
               c.         Denial of access to reasonable and necessary medical care and treatment after
24
                         plaintiff became a prisoner in the custody of the defendants.
25
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26                                                                                KANNIN LAW FIRM P.S.
                                                                                    119 SW 152nd Street
                                                                                  Burien, Washington 98166
                                                                             Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                        scott@kanninlaw.com
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1           d.         Being taken into police custody and then held in custody without ever being

2                      informed of the nature and cause of the government’s accusation against him

3                      that caused him to be held in custody.

4           e.         Denial of his right to speak freely under the First amendment.

5           f.         Denial of his right to due process of law and the right to equal protection of

6                      laws.

7           g.         Denial and/or unreasonable interference with his right to seek relief by way of

8                      a civil action in State Court unfettered by government interference.

9

10
       FIRST CLAIM: UNDER 42 U.S.C § 1983 AGAINST DEFENDANTS CITY OF KENT
11      POLICE OFFICERS EDWARD MOORE &TY HONDA, IN THEIR INDIVIDUAL
                         CAPACITIES (EXCESSIVE FORCE)
12
                                                      32.
13
                    Plaintiff re-alleges paragraphs 1 through 31 above.
14
                                                      33.
15
            42 U.S.C. § 1983 provides in part:
16

17          Every person who, under color of any statute, ordinance, regulation, custom, or usage of

18   any State or Territory subjects, or causes to be subjected, any person of the United States or other

19   person within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities

20   secured by the Constitution and laws shall be liable to the party injured in an action at law, suit at
21   equity or other proper proceeding for redress.
22
                                                      34.
23
            Plaintiff Van Horn had a firmly established right under the Fourth Amendment
24
     forbidding unlawful and unreasonable seizure and granting him the rights to be free from
25
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26                                                                              KANNIN LAW FIRM P.S.
                                                                                  119 SW 152nd Street
                                                                                Burien, Washington 98166
                                                                           Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                      scott@kanninlaw.com
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1    physical abuse, excessive force, and the use of force to cause him to suffer bodily injuries as well

2    as a firmly established right to be free from excessive force being used against him to effect an

3    arrest, search or seizure.

4                                                       35.

5            At all times material herein, defendants EDWARD MOORE, and TY HONDA, , acting

6    under color of state law, had a duty to refrain from depriving plaintiff Van Horn of his

7    constitutional rights. Defendants EDWARD MOORE, , and TY HONDA breached this

8    aforementioned duty to refrain from depriving plaintiff of his constitutional rights by using

9    unreasonably excessive force to arrest Van Horn, on October 9, 2015 and take him into police

10   custody which constituted a violation of plaintiff’s clearly-established rights under the Fourth

11   and Fourteenth Amendments to the Constitution of the United States, forbidding unlawful and

12   unreasonable seizure.

13
14                                                      36.

15           At the time they breached their duties to plaintiff defendants EDWARD MOORE, and

16   TY HONDA, acted under color of law and were employed by Defendant City of Kent.

17                                                      37.

18           Plaintiff was subjected to physical injury, pain, and fear by the illegal acts of defendants

19   and claims damages, attorney fees, and punitive damages for the injuries set forth herein under

20   42 U.S.C. § 1983 against Defendants EDWARD MOORE, and TY HONDA, for violation of his

21   constitutional rights under color of law in an amount to be proven at trial.

22                                                      38.

23           The conduct of the defendants was knowing, intentional, and malicious, by reason of

24   which plaintiff is entitled to punitive damages.

25
         COMP LAI NT - Page 1 2
26                                                                              KANNIN LAW FIRM P.S.
                                                                                  119 SW 152nd Street
                                                                                Burien, Washington 98166
                                                                           Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                      scott@kanninlaw.com
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     SECOND CLAIM: UNDER 42 U.S.C § 1983 AGAINST DEFENDANTS CITY OF KENT
1      POLICE OFFICERS EDWARD MOORE, &TY HONDA, IN THEIR INDIVIDUAL
         CAPACITIES FOR VIOLATION OF PLAINTIFF’S FOURTH, EIGHTH AND
2
       FOURTEENTH AMENDMENT RIGHTS (IN CUSTODY CRUEL AND UNUSUAL
3      PUNISHMENT - DENIAL OF MEDICAL TREATMENT AT THE CITY OF KENT
                                      JAIL)
4
                                                      39.
5
             Plaintiff re-alleges paragraphs 1 through 38 above.
6
                                                      40.
7
             At all times material herein, defendants EDWARD MOORE, and TY HONDA, acting
8
     under color of state law, had a duty to refrain from depriving plaintiff Van Horn of his
9
     constitutional rights.
10
                                                      41.
11
             Defendants EDWARD MOORE, and TY HONDA breached the aforementioned duty to
12
     refrain from depriving plaintiff of his constitutional rights by using unreasonably excessive force
13
     on Mr. Van Horn once he became a prisoner in their custody, which constituted a further
14
     violation of plaintiff’s clearly-established rights under the Fourth, Sixth, Eighth and Fourteenth
15
     Amendments to the Constitution of the United States, using unreasonable force to punish and/or
16
     further injure Van Horn, a person detained and arrested by the defendants and whom they
17
     caused to be imprisoned at the City of Kent Jail based upon the defendants’ accusations against
18
     plaintiff, when he was imprisoned plaintiff’s was injured, the defendants caused the plaintiff’s
19
     injuries, neither defendant ever told plaintiff why he was put in jail and/or what he had done that
20
     caused him to be forcefully detained as he was watching a music concert, thus the defendants
21
     breached the aforementioned duty to refrain from depriving plaintiff of his constitutional rights
22
     by deliberately withholding necessary medical treatment from Mr. Van Horn, and failing to
23
     inform him of the nature and cause of the government’s accusation, all which constituted a
24
     violation of plaintiff’s clearly-established rights under the Fifth, Sixth, Eighth and Fourteenth
25
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26                                                                              KANNIN LAW FIRM P.S.
                                                                                  119 SW 152nd Street
                                                                                Burien, Washington 98166
                                                                           Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                      scott@kanninlaw.com
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1    Amendments to the Constitution of the United States, to punish or injure prisoners at the City of

2    Kent Jail.

3                                                       42.

4           At the time they breached their duties to plaintiff defendants EDWARD MOORE, and

5    TY HONDA, acted under color of law and were employed by Defendant City of Kent.

6                                                       43.

7           Plaintiff Van Horn claims damages for the injuries set forth above under 42 U.S.C. §

8    1983 against Defendants EDWARD MOORE, and TY HONDA, for violation of his

9    constitutional rights under color of law in an amount to be proven at trial.

10                                                      44.

11          The conduct of the defendants was knowing, intentional, and malicious, by reason of

12   which plaintiff is entitled to punitive damages.

13
      THIRD CLAIM: UNDER 42 U.S.C § 1983 AGAINST DEFENDANTS CITY OF KENT
14      DEFENDANTS THOMAS, HONDA, MOORE, SCHOLL and THOMPSON FOR
     VIOLATION OF PLAINTIFF’S FIRST, FIFTH, SIXTH, EIGHTH AND FOURTEENTH
15
                             AMENDMENT RIGHTS
16

17
                                                        45.
18
            Plaintiff realleges paragraphs 1 through 44 above.
19
                                                        46.
20

21          At all times material herein, defendants City of Kent Officers Honda, Thomas,

22   Thompson, Scholl and Moore, acting under color of state law, had a duty to refrain from

23   depriving plaintiff Van Horn of his constitutional rights.

24                                                      47.
25
        COMP LAI NT - Page 1 4
26                                                                             KANNIN LAW FIRM P.S.
                                                                                 119 SW 152nd Street
                                                                               Burien, Washington 98166
                                                                          Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                     scott@kanninlaw.com
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               At all times material herein, defendants City of Kent Officers Honda, Thomas,
1
     Thompson, Scholl and Moore, acting under color of state law, had a duty to refrain from
2

3    depriving plaintiff Van Horn of his constitutional rights. Defendants breached the

4    aforementioned duty by responding to plaintiff’s meritorious claims for relief in State Court for

5    injuries and harms caused by the defendants, based on independent witness fact finding, and

6    based upon the defendants’ reports, and statements, by deliberately and intentionally suing the
7    plaintiff byway of a counterclaim lawsuit against the plaintiff, in which the
8
     defendants/counterclaim plaintiffs allege plaintiff Van Horn’s State law torts lawsuit against
9
     these defendants and that plaintiff’s claims therein were false and malicious, when in fact they
10
     were not and are not, and thereby the defendants, acting under color of law, used the power of
11
     their government offices, money from the City government treasury, and their official positions
12
     as Kent Police Department employees to actively and intentionally work to cancel, squash and
13
14   deny plaintiff Van Horn access to the State’s civil justice system, and deny plaintiff remedies in

15   the State’s Superior Court, and to thereby make plaintiff’s potential remedies unnecessarily and

16   unreasonably difficult to access, and to further attempt to silence the plaintiff’s presentation of
17   his claims in court, all of which constituted a violation of plaintiff’s clearly-established rights
18
     under the First, Fifth, Sixth, and Fourteenth Amendments to the Constitution of the United
19
     States.
20
                                                       48.
21

22             At the time they breached their duties to plaintiff defendants City of Kent Officers

23   Honda, Thomas, Thompson, Scholl and Moore acted under color of law and were employed by

24   or were agents of Defendant City of Kent.

25                                                     49.
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26                                                                               KANNIN LAW FIRM P.S.
                                                                                   119 SW 152nd Street
                                                                                 Burien, Washington 98166
                                                                            Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                       scott@kanninlaw.com
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1           Plaintiff Van Horn claims damages for the injuries set forth above under 42 U.S.C. §

2    1983 against defendants City of Kent Officers Honda, Thomas, Thompson, Scholl and Moore for

3    violation of his constitutional rights under color of law in an amount to be proven at trial.
             .
4
                                                      50.
5

6           The conduct of the defendants was reckless and, or knowing, intentional, and malicious,

7    by reason of which plaintiff is entitled to punitive damages.

8

9         FOURTH CLAIM: UNDER 42 U.S.C § 1983 AGAINST CITY OF KENT AND
     DEFENDANTS KEN THOMAS, IN HIS CAPACITY AS CHIEF OF POLICE FOR THE
10   CITY OF KENT, AND ROB SCHOLL, AS POLICE COMMANDER FOR THE CITY OF
         KENT FOR VIOLATIONS OF PLAINTIFF’S EIGHTH AND FOURTEENTH
11       AMENDMENT RIGHTS (UNCOMNSTITUTIONAL POLICY PRACTICE OR
12       CUSTOM) EXCESSIVE FORCE– DENIAL OF MEDICAL TREATMENT TO
         PRISONER IN JAIL- SUING PLAINTIFF WHO QUESTIONS KENT POLICE
13                                 AUTHORITY)

14
                                                      51.
15
            Plaintiff realleges paragraphs 1 through 50 above.
16
                                                      52.
17

18          Prior to June 15, 2015, defendant Municipal Corporation City of Kent, by and through its
19   Chief policy makers defendants chief of police KEN THOMAS and commander ROB SCHOLL,
20   developed and maintained policies, practices, or customs, allowing the City’s police officers to
21   use excessive and unreasonable force, not discipling the City’s police officers to use excessive
22   and unreasonable force, tolerating exhibiting City’s police officers to use excessive and
23   unreasonable force, tolerating exhibiting City’s police officers deliberate indifference to the
24   constitutional rights of persons incarcerated in the City of Kent Jail, allowing the City’s police
25
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26                                                                              KANNIN LAW FIRM P.S.
                                                                                  119 SW 152nd Street
                                                                                Burien, Washington 98166
                                                                           Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                      scott@kanninlaw.com
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1    officers to use a civil lawsuit against plaintiff Van Horn and others who may or may have

2    complained of the City’s employees aforementioned acts and failures to act, which caused the

3    violations of plaintiff Van Horn’s rights.

4                                                     53.

5           Defendant chief of police KEN THOMAS was employed by City of Kent and its Police

6    Department as the Chief of Police and is believed to have been the supervising and commanding

7    officer of Defendant Commander ROB SCHOLL. Commander ROB SCHOLL was employed by

8    City of Kent and its Police Department as the police commander and is believed to have been the

9    supervising and commanding officer of Defendants EDWARD MOORE, TY HONDA, and Sgt.

10   J. THOMPSON.

11
                                                      54.
12

13          At the time of the incident involving plaintiff Van Horn it is believed that it was the

14   policy, practice, or custom of City of Kent to fail to ensure adequate screening of police officer

15   candidates during the hiring process, or adequate training, supervision, and discipline of City of

16   Kent Police Officers. The County did not require appropriate in-service training or retraining of
17   officers who violated the plaintiff’s aforementioned rights. The County did not require adequate
18
     review and or screening of its officers’ lawsuits against citizens who challenged the City’s police
19
     officers’ authority such that a civil plaintiff whose meritorious claims were filed in the State
20
     Superioer Court could have his or her lawsuit challenged by the defendant City Kent employees
21
     without review and/or approval by the supervising Chief defendant Thomas and/or other
22
     defendant City of Kent policymakers. Defendant City of Kent did not require appropriate in-
23

24   service training or retraining of its employees/officers who were known to have engaged in

25   misconduct by using excessive force against citizens at liberty, denying medical treatment to jail
        COMP LAI NT - Page 1 7
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                                                                                  119 SW 152nd Street
                                                                                Burien, Washington 98166
                                                                           Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                      scott@kanninlaw.com
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     prisoners, authorizing its police officers to bring lawsuits against citizens who challenged the
1
     City’s police officers’ authority with civil lawsuits in the King County Superior Court, and these
2

3    silence and/or failures thereby ratified Defendant City of Kent employees’ misconduct.

4    Defendant City of Kent further did not require appropriate in-service training or discipline for

5    officers who tolerated other officers denying medical treatment to sick or injured jail prisoners,

6    and/or who tolerated other officers using excessive force and/or unreasonable force against
7    citizens.
8
                                                     55.
9
             Because of the above described policies, practices, and customs, City of Kent Police
10
     officers, including the defendant officers named herein, believed that their actions or inactions
11
     would not be properly monitored by supervisory officers and or by defendant City of Kent
12
     supervisors and that the defendant officers’ misconduct would not be investigated or sanctioned,
13
14   but would be tolerated and/or ratified by defendants KEN THOMAS, ROB SCHOLL, and CITY

15   OF KENT.

16                                                   56.
17           The above described policies, practices, and customs of defendant City of Kent
18
     demonstrated a deliberate indifference on the part of defendant City of Kent to the constitutional
19
     rights of persons within the City Kent and were a cause of the City’s police officer employees
20
     the individual above named defendants’ constitutional failures, to include excessive and
21
     unreasonable force, failing to provide and/or denying medical treatment to the plaintiff when he
22
     was a prisoner at the City of Kent jail actively, and by allowing the defendants School and
23

24   Thompson using the legal process to deny plaintiff Van Horn an opportunity to be fully and

25   fairly heard in State court with regard to his complaints for the defendants’ wrong doing against
         COMP LAI NT - Page 1 8
26                                                                             KANNIN LAW FIRM P.S.
                                                                                 119 SW 152nd Street
                                                                               Burien, Washington 98166
                                                                          Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                     scott@kanninlaw.com
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     him.
1
                                                      57.
2

3           Plaintiff Van Horn claims damages for the injuries set forth above under 42 U.S.C. §
4    1983 against defendant City of Kent for violation of his constitutional rights under color of law
5    in an amount to be proven at trial.
6
                                              JURY DEMAND
7
            The plaintiff respectfully requests trial by jury.
8

9                                          RELIEF REQUESTED

10          WHEREFORE, the plaintiff prays for judgment in an amount to be established at trial,

11   including:

12          a. Economic damages to plaintiff against the defendants jointly and severally;

13          b. Non-economic damages to plaintiff against the defendants jointly and severally;

14          c. Reasonable attorney’s fees and costs to the plaintiff under 42 U.S.C. § 1988;

15          d. Punitive damages; and

16          e. Such other relief as this court may deem equitable.

17

18          DATED this 5th day of October, 2018.

19                                                          KANNIN LAW FIRM P.S.

20

21                                                  By:
                                                            John Kannin, WSBA #27315
22                                                          Attorney for Plaintiff
23

24
25
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26                                                                            KANNIN LAW FIRM P.S.
                                                                                119 SW 152nd Street
                                                                              Burien, Washington 98166
                                                                         Tel. (206) 574-0202; Fax. (206) 574-0101
                                                                                    scott@kanninlaw.com
